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                         EXHIBIT A
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                     DECLARATION OF ABBY MAXMAN

      I, Abby Maxman, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.    I am the President and CEO of Oxfam America, which I have led since

2017. I have over thirty-five years of experience in the humanitarian field, having

held leadership roles including Deputy Secretary General and Vice President of two

major international humanitarian agencies; board chair of the leading alliance of

nonprofits in the U.S., and of the Steering Committee for Humanitarian Response;

and as an NGO principal on the UN Inter-Agency Standing Committee. I serve as a

Trustee on the board of Frontline AIDS, on the advisory boards of the Global

Executive Leadership Initiative and on the Classy Leadership Council, and am a

member of the Council on Foreign Relations. I previously served as a U.S. Peace

Corps Volunteer, and worked in the USDA’s Office of International Cooperation and
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Development. My work has taken me to over seventy countries. I have lived and

worked in Lesotho, Zimbabwe, Rwanda, the Occupied Palestinian Territory & Israel,

the Republic of Georgia, Haiti, Ethiopia, Switzerland, and the United States.

      3.     Over the course of my career I have implemented large U.S. government

funded programs in country leadership roles in Haiti, Ethiopia, and the Republic of

Georgia. As the Vice President of International Programs and Operations for a large

international humanitarian agency, I was responsible for the oversight of a

$400million/year portfolio of work, 40% of which was U.S. government funded,

including the other multilateral agencies that U.S. funding supports. For over thirty-

five years, I have devoted my professional career and expertise working in the aid

sector.

      4.     Oxfam America is an affiliate member of Oxfam International, a global

organization that fights inequality to end poverty and injustice. We offer lifesaving

support in times of crisis, and advocate for economic justice, gender equality, and

climate action. In 2023, we worked with 2,248 local organizations and international

allies, in 80 countries, and reached 15.5 million people with our programs.

      5.     Oxfam collaborates with a worldwide network of humanitarian

organizations, including USAID, that provides relief for communities affected by the

world’s most serious disasters. Like other professional humanitarian organizations,

Oxfam participates in coordination mechanisms led by the United Nations to ensure

that assistance is provided to address the most pressing needs in a manner that is

efficient and avoids duplication. The efficacy and appropriateness of each lifesaving



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activity is directly dependent on the complementary activities being carried out by

other organizations in the humanitarian ecosystem. While it is typical for

organizations to adjust their programs to account for changes in the external context,

the erasure of any large aid organization–particularly one of USAID’s magnitude–

undermines the humanitarian sector as a whole.

      6.     Oxfam is currently conducting humanitarian action in over 30 countries,

including the Democratic Republic of Congo, Venezuela, Colombia, Bangladesh, and

the Philippines. This also includes programs in:

             a. South Sudan: Conflict in Sudan, and the recent declaration of

                famine, forced over 3 million people to seek refuge in South Sudan,

                Chad, and neighboring countries. In South Sudan and Chad, Oxfam

                and partners are delivering food; providing clean water; installing

                emergency drinking water systems, toilets, and bathing facilities;

                and distributing cash so that displaced families can acquire the

                additional items they need.

             b. Ukraine: Since the escalation of the war in 2022, Oxfam has

                provided humanitarian assistance to over 2.4 million people,

                including refugees who fled to Poland, Moldova, and Romania.

                Today, as the fighting in Ukraine continues to create extremely

                challenging conditions for civilians, Oxfam works closely with

                Ukrainian civil society to support people in need.

             c. Ethiopia, Kenya, Somalia and South Sudan: Oxfam is



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                 responding to the East Africa hunger crisis by partnering with

                 organizations to reach 1.24 million people across the four countries.

                 Together, we are providing clean water and rapid flexible cash

                 assistance matched with longer-term support to help communities be

                 more resilient to the changing climate. We are also advocating for

                 governments and others to respond to the immediate crisis with

                 humanitarian assistance.

      7.     Funds appropriated by Congress and administered by USAID save lives

and helps to build strong and resilient societies. To my knowledge, there is not a

single area of development and humanitarian assistance – including food, education,

economic development, public health, democracy and governance, climate change

adaptation, advancing the rights of girls and women, and disaster relief – that USAID

is not involved in.

      8.     Following President Trump’s Executive Order mandating a 90-day

pause in new foreign assistance disbursements, USAID and the State Department

imposed a blanket freeze on all foreign assistance, including on activities pursuant

to existing contracts and awards. Ships carrying medicine refrained from unloading

their cargoes; and food bound for countries experiencing extreme hunger were held

at port to spoil and rot, notwithstanding the Executive Order’s exemption on

emergency food assistance.

      9.     On January 28, Secretary Rubio approved an “emergency humanitarian

waiver” purportedly exempting certain forms of life-saving humanitarian assistance



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from the funding freeze. However, the effective shutdown of USAID has dramatically

limited the effect of the waiver in a variety of ways. First, USAID has not been

making payments to many of its implementing partners, even to reimburse them for

work completed before the funding freeze, leaving many with severe liquidity

challenges. Second, USAID staff, including agreement officers who are the primary

contact for implementing partners, have been either placed on leave or prohibited

from external communications. As a result, USAID grantees and employees alike are

not receiving actionable guidance on the scope or operation of the humanitarian

waiver. Given USAID’s non-payment even for earlier expenses, many humanitarian

organizations are declining to bear the risk of incurring new ones on the basis of a

vague waiver without specific guidance.

      10.      The immediate departure of USAID from the humanitarian sector

creates an inordinate burden on other humanitarian organizations, including Oxfam,

whose resources have already been diverted to account for the foreign assistance

funding pause currently in place, and which would be fundamentally challenged and

overstretched in an attempt to fill the $63 billion void left by USAID’s abrupt

dissolution.

      11.      Like other humanitarian agencies, Oxfam is committed to meeting

industry-agreed minimum standards in our response activities in order to ensure that

people benefiting from Oxfam assistance survive and recover with dignity. Unless

Oxfam accounts for the dramatic changes in the humanitarian landscape caused by

the discontinuation of USAID-funded programs, Oxfam will fail to meet minimum



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standards in its own programs, fail to address the most urgent needs, and may

exacerbate tensions within communities over the distribution of resources and

accessibility of services. Instead, Oxfam will be forced to participate in recalibration

exercises everywhere USAID funding has ceased to be available, at substantial cost

to our own operations.

      12.    The agency’s abrupt closure is leaving a massive shortfall that will force

Oxfam and other agencies to reallocate funds away from critical programs. Even in

the best-case scenario, this recalibration of humanitarian assistance will leave

millions of children, women and men living without food, water, sanitation services,

medicine, education, shelter, protection, or other essential emergency relief in

disaster and conflict areas around the world.

      13.    Oxfam implements programs in close collaboration with partners,

including other government entities, international non-governmental organizations

(INGOs), and local and national NGOs, many of which receive USAID funding. As a

result, impacts of the USAID foreign assistance pause on other INGOs and

local/national NGOs will jeopardize our projects, generating pressure on Oxfam to

incur additional financial responsibility, as well as to make life-or-death decisions

about which communities we will and will not serve.

      14.    In many cases, Oxfam and other INGOs coordinate so that we work in

different communities, in which case some communities will now be supported by

Oxfam, while neighboring communities will be left without support. Alternatively, in

situations where Oxfam and allies complement each other’s work, there will now be



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tremendous gaps.

        15.     Closing USAID without notice also disrupts lifesaving programs

midstream. Local and national organizations that receive USAID funding and

partner with Oxfam may have little in reserves, and many of our close local and

national partners have told us they will not be able to survive the 3-month pause.

Their closure will significantly impede our ability to carry out our humanitarian

work.

        16.     Oxfam has already been instructed to halt several projects undertaken

with UN agency funding because they rely on U.S. government as a back donor. In

sum, there are over $800,000 in standing commitments that are now at risk,

including three humanitarian projects providing water, sanitation, and other

humanitarian assistance in which work has been conducted and we have not received

payment. This includes programs serving refugees and other communities in Africa,

Latin America, and the Middle East.1

        17.     Oxfam collaborates with other UN agencies funded by the U.S.

government, meaning the adverse impacts to our work are likely to spread. Oxfam

has thirty-one contracts with UN agencies valued at $42.9 million; this includes $12.7

million in pending payments. As of February 5, nineteen UN agencies received stop-

work orders from the U.S. government, and six had not. This throws significant

uncertainty into Oxfam’s ability to continue carrying out the work we have




        1 Please note that teams located in these three countries requested not to be identified for fear
that their programs or staff could face retribution.

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undertaken alongside the United Nations, and introduces uncertainty as to whether

we will receive the $12.7 million in pending payments.

      18.    USAID is also home to thought leaders in the development industry.

Their staff engineer and implement cutting edge, lifesaving ideas at scale. There is

no major area of the development system in which USAID did not bring its technical

know-how, research, and evidence. Dissolving the agency will therefore have

significant negative ramifications Oxfam and other humanitarian agencies that rely

upon the agency’s ingenuity to continue our work of saving lives and improving

livelihoods across the globe.

      19.    In addition, USAID plays a unique role by offering services to other

humanitarian organizations that only USAID can offer. Oxfam and other

organizations have come to rely upon this partnership. For example, USAID charters

flights to several remote or dangerous regions of the world that other organizations

cannot enter alone, and invites humanitarian workers from other organizations to

join these flights. USAID thus plays a unique role in supporting Oxfam and other

humanitarian organizations that would otherwise be unable to provide this lifeline

to otherwise unreachable communities.

I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 12, 2025.



                                                            ____________

                                              Name



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